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                                 EXHIBIT C
                                   Notice




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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

                                                             PROMESA
    In re:                                                   Title III

    THE FINANCIAL OVERSIGHT AND                              No. 17 BK 3283-LTS
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                             (Jointly Administered)
             as representative of
                                                             This filing relates to the
    THE COMMONWEALTH OF PUERTO RICO, et                      Commonwealth.
    al.,

                                    Debtors.



    NOTICE OF THE THREE HUNDRED THIRTY-SIXTH OMNIBUS OBJECTION
 (SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO TO CLAIMS FOR
               WHICH THE COMMONWEALTH IS NOT LIABLE

IF YOUR CLAIM IS LISTED ON EXHIBIT A TO THE OMNIBUS OBJECTION, THE
COMMONWEALTH IS SEEKING TO DISALLOW YOUR CLAIM BECAUSE ITS
RECORDS SHOW THAT YOUR CLAIM IS DEFICIENT.

THIS OMNIBUS OBJECTION SEEKS TO ALTER YOUR RIGHTS. ANY CLAIM THAT
IS DISALLOWED WILL BE TREATED AS THOUGH IT WERE NEVER FILED.

IF YOUR CLAIM IS LISTED ON EXHIBIT A, YOU SHOULD READ THIS NOTICE AND
THE OMNIBUS OBJECTION CAREFULLY AND DISCUSS IT WITH YOUR
ATTORNEY. IF YOU DO NOT HAVE AN ATTORNEY, YOU MAY WISH TO
CONSULT ONE.

        PLEASE TAKE NOTICE THAT, on June 18, 2021, the Commonwealth of Puerto Rico
(the “Commonwealth”), by and through the Financial Oversight and Management Board for Puerto
Rico (the “Oversight Board”), as the representative of the Commonwealth pursuant to Section
315(b) of the Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”),1
filed the Three Hundred Thirty-Sixth Omnibus Objection (Substantive) of the Commonwealth of
Puerto Rico to Claims for Which the Commonwealth is Not Liable (the “Omnibus Objection”)
with the United States District Court for the District of Puerto Rico (the “Court”).2



1
    PROMESA is codified at 48 U.S.C. §§ 2101-2241.
2
 Capitalized terms used but not defined herein shall have the meanings set forth in the Omnibus
Objection.


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                                           OVERVIEW

       PLEASE CHECK IF YOUR CLAIM(S) IS/ARE LISTED ON EXHIBIT A TO
        THE OMNIBUS OBJECTION.

       If your claim(s) is/are NOT listed on Exhibit A, your claim will not be affected by
        the Omnibus Objection, and you DO NOT have to do anything.

       If your claim(s) is/are listed on Exhibit A to the Omnibus Objection, the
        Commonwealth is seeking to disallow your claim(s) listed on Exhibit A because, as
        explained in the accompanying Omnibus Objection, the Debtors’ records show that
        your claim is deficient. The Omnibus Objection and Exhibit A to the Omnibus
        Objection provide additional details regarding the deficient claims at issue.

       Copies of the Omnibus Objection and all other filings in the Title III Cases are
        available free online at https://cases.primeclerk.com/puertorico.

       If you have questions, please contact Prime Clerk, LLC at (844) 822-9231 (toll free
        for U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available
        10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available).


    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF DEMANDED BY THE OMNIBUS OBJECTION
WITHOUT FURTHER NOTICE OR HEARING.

              IMPORTANT NOTICE PURSUANT TO LOCAL RULE 3007-1

Any party against whom this Omnibus Objection has been served, or any other party to the action
who objects to the relief sought herein, shall serve and file a response to the Omnibus Objection
with the clerk’s office of the United States District Court for the District of Puerto Rico by
4:00 p.m. (Atlantic Time) on July 19, 2021, unless otherwise extended, in writing, by the
Commonwealth. If no response is filed within the time allowed herein, the Omnibus Objection
will be deemed unopposed and may be granted unless: (1) the requested relief is forbidden by law;
(2) the requested relief is against public policy; or (3) in the opinion of the court, the interest of
justice requires otherwise. If you file a timely response, the Court may schedule a hearing.

               Critical Information for Claimants Choosing to File a Response

        Who is Required to File a Response. Any party who disputes the Omnibus Objection is
required to file a response in accordance with the procedures set forth herein. If a party whose
claim is subject to the Omnibus Objection does not file and serve a response in compliance with
the procedures herein, the Court may grant the Omnibus Objection with respect to such claim
without further notice to the claimant.

     Who is NOT Required to File a Response. If you do not oppose the relief sought in the
Omnibus Objection, then you do not need to file a written response to the Omnibus Objection and


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you do not need to appear at the hearing on the Omnibus Objection (described below).
Additionally, the Omnibus Objection only applies to the claims listed on Exhibit A to the Omnibus
Objection, a copy of which is available free online at https://cases.primeclerk.com/puertorico. If
your claim is not listed on Exhibit A to the Omnibus Objection, no response is required.

       Deadline for Filing a Response. Your response will be deemed timely only if it is filed
with the Court and served by 4:00 p.m. (Atlantic Time) on July 19, 2021, unless otherwise
extended, in writing, by the Commonwealth, HTA, or ERS, or upon written request to the Court
and order of the Court extending the deadline.


                        The deadline for filing and serving a response is
                          4:00 p.m. (Atlantic Time) on July 19, 2021.


        Hearing on the Omnibus Objection. If a response is properly filed and served in
accordance with this notice, a hearing on the Omnibus Objection and the response will be held at
9:30 a.m. (Atlantic Time) on August 4, 2021, before The Honorable Laura Taylor Swain at the
United States District Court for the District of Puerto Rico, 150 Carlos Chardón Street, Federal
Building, San Juan, Puerto Rico 00918-1767. If you file a response to the Omnibus Objection,
then you should plan to appear at the hearing on the Omnibus Objection. The Commonwealth,
however, reserves the right, on three (3) business days’ notice, to adjourn the hearing with respect
to the Omnibus Objection and the response.

       The Debtors may file a reply to your response or reply in oral argument at the hearing. The
Debtors are permitted to file their reply no later than seven (7) calendar days before the hearing on
the Omnibus Objection and the response.

THE COURT WILL ONLY CONSIDER YOUR RESPONSE IF YOUR RESPONSE IS
FILED AND SERVED BY THE RESPONSE DEADLINE IN ACCORDANCE WITH
THE INSTRUCTIONS SET FORTH IN THIS NOTICE.

       What to File with a Response. Your response to the Omnibus Objection must contain the
following information.

       (i)     Contact Information. The response must include a name, address, telephone
               number, and email address of either (1) the responding claimant; (2) the
               claimant’s attorney or designated representative to whom the attorneys for the
               Commonwealth should serve a reply to the response, if any; or (3) the party with
               authority to reconcile, settle, or otherwise resolve the Omnibus Objection on the
               claimant’s behalf.

       (ii)    Caption. The response must contain a caption stating the name of the Court, the
               names of the Debtors, the case number, the title of the Omnibus Objection to which
               the response is directed, and the proof of claim number(s) related thereto from
               Prime Clerk (which are listed on Exhibit A to the Omnibus Objection and available
               free online at https://cases.primeclerk.com/puertorico).


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      (iii)      Reason(s) for Opposing the Omnibus Objection. The response must contain a
                 concise statement setting forth the reasons why the Court should not grant the
                 Omnibus Objection with respect to your claim, including the factual and legal bases
                 upon which the claimant will rely in opposing the Omnibus Objection.

      (iv)       Supporting Documentation. To the extent not already included with the proof of
                 claim, the response should include a copy of any other documentation or other
                 evidence of the claim, upon which the claimant will rely in opposing the Omnibus
                 Objection; provided, however, that the claimant need not disclose confidential,
                 proprietary, or otherwise protected information in the response; and provided,
                 further, that the claimant shall disclose to the Commonwealth all information and
                 provide copies of all documents that the claimant believes to be confidential,
                 proprietary, or otherwise protected and upon which the claimant intends to rely in
                 support of its claim, subject to appropriate confidentiality constraints.

      (v)        Signature. You must sign your response. If you do not sign your response, the
                 clerk will not accept it for filing.

IMPORTANT NOTICE REGARDING SENSITIVE INFORMATION CONTAINED IN A
RESPONSE.

      All materials submitted to the Court in response to the Omnibus Objection may be publicly
      filed and accessible to any member of the public. Therefore, the response should not
      include sensitive documents or information, such as copies of driver’s licenses, passports,
      birth certificates, Social Security cards, sensitive medical information or confidential
      business information. Sensitive information submitted to the Court in response to the
      Omnibus Objection must adhere to the following guidelines:

                Social Security numbers and taxpayer identification numbers should be redacted
                 (that is, blacked out), except for their last four digits.

                Birthdays should be redacted, except for the year of an individual’s birth.

                The name of any individual known to be a minor should be redacted, except for that
                 person’s initials.

                Financial account numbers should be redacted, except for their last four digits.

      Any such sensitive or confidential information upon which a claimant relies in support of
      its claim must be provided directly to counsel for the Commonwealth, and will be kept
      confidential. You may provide this information by mailing it to the following address:

                        Counsel for the Oversight Board
                        Proskauer Rose LLP
                        Eleven Times Square
                        New York, New York 10036-8299




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                      Attn: Martin J. Bienenstock
                      Brian S. Rosen


Where and How to File and Serve a Response. Every response should be filed electronically
with the Court on the docket of In re Commonwealth of Puerto Rico, Case No. 17 BK 3283-LTS.
There are two methods that you can use to file your response:

   1. Online. Registered users of the Court’s case filing system must file their response
      electronically in searchable portable document format.

   2. By Mail. If you are not an attorney who is a registered user of the Court’s case filing
      system, you may file and serve a response by mailing it to the Court’s Clerk’s office, the
      Oversight Board, and the Creditors’ Committee at the following addresses:

                      Clerk’s Office
                      United States District Court
                      Room 150 Federal Building
                      San Juan, Puerto Rico 00918-1767

                      Counsel for the Oversight Board
                      Proskauer Rose LLP
                      Eleven Times Square
                      New York, New York 10036-8299
                      Attn: Martin J. Bienenstock
                      Brian S. Rosen

                      Counsel for the Creditors’ Committee
                      Paul Hastings LLP
                      200 Park Avenue
                      New York, New York 10166
                      Attn: Luc A. Despins
                      James Bliss
                      James Worthington
                      G. Alexander Bongartz

YOUR RESPONSE must be mailed so as to be received by the Clerk’s Office, the Oversight
Board, and the Creditors’ Committee no later than 4:00 p.m. (Atlantic Time) on July 19, 2021,
unless otherwise extended by the Commonwealth, in writing, or upon a written request to the Court
and order of the Court extending the deadline. Your response must be signed. If you do not sign
your response, the clerk will not accept it for filing.

In the event that you are unable to file and serve a response online or by mail as specified above,
you may file a response in person at the following address by no later than 4:00 p.m. (Atlantic
Time) on July 19, 2021, unless otherwise extended by the Commonwealth in writing, or upon a
written request to the Court and order of the Court extending the deadline:




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               Clerk’s Office
               United States District Court
               #150 Chardon Avenue
               Federal Building
               San Juan, Puerto Rico 00918

A certificate of service should be included with your response explaining how service was
accomplished.

If you have any questions about filing and serving a response, including questions about the
Court’s case filing system, please contact the Prime Clerk hotline at (844) 822-9231.

Reservation of Rights. NOTHING IN THE OMNIBUS OBJECTION OR THIS NOTICE IS OR
SHALL BE DEEMED TO CONSTITUTE A WAIVER OF ANY RIGHTS OF THE
COMMONWEALTH, COFINA, HTA, ERS, PBA, PREPA, OR ANY OTHER PARTY IN
INTEREST IN THE TITLE III CASES TO DISPUTE ANY CLAIMS, ASSERT
COUNTERCLAIMS, RIGHTS OF OFFSET OR RECOUPMENT, OR DEFENSES, OBJECT TO
CLAIMS (OR OTHER CLAIMS OR CAUSES OF ACTION OF A CLAIMANT) ON ANY
GROUNDS NOT PREVIOUSLY RAISED IN AN OBJECTION, UNLESS THE COURT HAS
ALLOWED A CLAIM OR ORDERED OTHERWISE, OR SEEK TO ESTIMATE ANY CLAIM
AT A LATER DATE. AFFECTED PARTIES WILL BE PROVIDED APPROPRIATE NOTICE
THEREOF AT SUCH TIME.



                  Additional Resources and Who to Contact with Questions

All documents filed in the Title III Cases, including copies of claims filed using CM/ECF, are
available free online at https://cases.primeclerk.com/puertorico. This website is maintained by
Prime Clerk and includes a searchable database to assist with locating documents.

If you require additional information regarding the Omnibus Objection, the status of your response,
your claim, or this notice, please contact the Prime Clerk hotline at (844) 822-9231 (toll free for
U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available 10:00 a.m. to 7:00
p.m. (Atlantic Time) (Spanish available).           Inquiries may also be sent via email to
puertoricoinfo@primeclerk.com.




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                                  ANEXO C
                                  Notificación




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                     TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                          PARA EL DISTRITO DE PUERTO RICO

                                                             PROMESA
    In re:                                                   Título III

    JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN                    núm. 17 BK 3283-LTS
    FINANCIERA PARA PUERTO RICO,
                                                             (Administrado Conjuntamente)
             como representante del
                                                             La presente radicación guarda
    ESTADO LIBRE ASOCIADO DE PUERTO RICO et                  relación con el ELA.
    al.,

                                  Deudores.



NOTIFICACIÓN DE LA TRICENTÉSIMA TRIGÉSIMA SEXTA OBJECIÓN GLOBAL
     (SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO A
       RECLAMACIONES POR LAS QUE EL ELA NO ES RESPONSABLE

SI SU RECLAMACIÓN APARECE EN EL ANEXO A DE LA OBJECIÓN GLOBAL, EL
ELA SOLICITA QUE SU RECLAMACIÓN SEA RECHAZADA, PUESTO QUE SUS
DATOS INDICAN QUE SU RECLAMACIÓN ES DEFICIENTE.

ESTA OBJECIÓN GLOBAL PRETENDE ALTERAR SUS DERECHOS. TODA
RECLAMACIÓN QUE SEA RECHAZADA SE TRATARÁ COMO SI NUNCA SE
HUBIERA RADICADO.

SI SU RECLAMACIÓN APARECE EN EL ANEXO A, DEBERÁ LEER
DETENIDAMENTE ESTA NOTIFICACIÓN Y LA OBJECIÓN GLOBAL, Y
COMENTARLAS CON SU ABOGADO. SI NO TIENE ABOGADO, ES POSIBLE QUE
DESEE ACUDIR A UNO.

        OBSÉRVESE QUE el 18 de junio de 2021, el Estado Libre Asociado de Puerto Rico (el
"ELA"), a través de la Junta de Supervisión y Administración Financiera para Puerto Rico (la
"Junta de Supervisión"), como representante del ELA conforme a la sección 315(b) de la Ley para
la Supervisión, Administración y Estabilidad Económica de Puerto Rico ("PROMESA"),1 radicó
la Tricentésima trigésima sexta objeción global (sustantiva) del Estado Libre Asociado de Puerto
Rico a Reclamaciones por las que el ELA no es responsable (la "Objeción Global") ante el Tribunal
de Distrito de los Estados Unidos para el Distrito de Puerto Rico (el "Tribunal"). 2


1
    PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101-2241.
2
  Los términos en mayúscula utilizados que no estén definidos en el presente documento tendrán
el significado que les haya sido atribuido en la Objeción Global.


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                                             SÍNTESIS

        COMPRUEBE SI SU(S) RECLAMACIÓN(ES) SE MENCIONA(N) EN EL
         ANEXO A DE LA OBJECIÓN GLOBAL.

        Si su(s) reclamación(es) NO se menciona(n) en el Anexo A, la Objeción Global no
         afectará a su reclamación, por lo que NO tendrá que realizar ninguna acción.

        Si su(s) reclamación(es) se menciona(n) en el Anexo A de la Objeción Global, el ELA
         solicita que su(s) reclamación(es) que se mencione(n) en el Anexo A sea(n)
         rechazada(s) porque, como se explicó en la Objeción Global que acompaña este
         documento, los datos de los Deudores indican que su reclamación es deficiente. La
         Objeción Global y el Anexo A de la Objeción Global proporcionan detalles adicionales
         sobre las reclamaciones deficientes en cuestión.

        Copias de la Objeción Global, y todos los escritos radicados en el marco de los Casos
         de Título III, están disponibles, de manera gratuita, en
         https://cases.primeclerk.com/puertorico.

        Si tiene alguna pregunta, comuníquese con Prime Clerk LLC llamando al (844)
         822-9231 (número gratuito para Estados Unidos y Puerto Rico) o (646) 486-7944
         (para llamadas desde el extranjero), disponible entre las 10:00 a. m. y las 07:00
         p.m. (AST) (hablamos español).


     SI NO CONTESTA CONFORME A LA PRESENTE NOTIFICACIÓN, EL
TRIBUNAL PODRÁ CONCEDER EL REMEDIO SOLICITADO EN LA OBJECIÓN
GLOBAL SIN OTRA NOTIFICACIÓN NI VISTA.

       NOTIFICACIÓN IMPORTANTE CONFORME A LA REGLA LOCAL 3007-1

Cualquiera de las partes a la que se haya notificado la presente Objeción Global, o cualquier parte
de la acción que objete al remedio aquí solicitado, deberá radicar y enviar una réplica a la Objeción
Global a la secretaría del Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico
antes de las 04:00 p.m. (AST) del 19 de julio de 2021, salvo extensión por escrito por parte del
ELA. Si no se radica ninguna réplica en el plazo mencionado, se considerará que no hay oposición
a la Objeción Global, por lo que esta podrá ser concedida, salvo que: 1) el remedio solicitado esté
legalmente prohibido; 2) el remedio solicitado sea contrario al orden público; o 3) a criterio del
Tribunal, el interés de la justicia exija otra cosa. Si radica una réplica en los plazos establecidos,
el Tribunal podrá convocar una vista.

       Información muy importante para los Reclamantes que elijan radicar una réplica

       Quién tiene la obligación de radicar una réplica. Cualquiera de las partes que impugne
la Objeción Global tiene la obligación de radicar una réplica de conformidad con los
procedimientos aquí establecidos. Si la parte cuya reclamación quede sujeta a la Objeción Global
no radica ni notifica una réplica de conformidad con los procedimientos aquí establecidos, el


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Tribunal podrá conceder a la Objeción Global en relación con tal reclamación sin más
notificaciones al reclamante.

        Quién NO tiene la obligación de radicar una réplica. Si usted no se opone al remedio
solicitado en la Objeción Global, no tendrá que radicar ninguna réplica por escrito a la Objeción
Global ni tendrá que comparecer en la vista sobre la Objeción Global (según se explica abajo).
Además, la Objeción Global solo se aplica a las reclamaciones mencionadas en el Anexo A de la
Objeción Global, cuya copia está disponible en línea, de manera gratuita, en
https://cases.primeclerk.com/puertorico. Si su reclamación no se menciona en el Anexo A de la
Objeción Global, no será necesario radicar ninguna réplica.

        Fecha límite para radicar una réplica. Su réplica se considerará radicada dentro de los
plazos establecidos solo si la radica ante el Tribunal y la notifica antes de las 04:00 p.m. (AST)
del 19 de julio de 2021, salvo extensión por escrito por parte del ELA, la ACT o el SRE, o previa
solicitud por escrito dirigida al Tribunal y una orden del Tribunal que extienda la fecha límite.


              La fecha límite para radicar y notificar una réplica se cumple a las
                           04:00 p.m. (AST) del 19 de julio de 2021.


        Vista sobre la Objeción Global. Si se radica y notifica una réplica de manera adecuada
conforme a la presente notificación, se celebrará una vista sobre la Objeción Global y la réplica a
las 09:30 a.m. (AST) del 4 de agosto de 2021 ante su señoría, Laura Taylor Swain, en el Tribunal
de Distrito de los Estados Unidos para el Distrito de Puerto Rico, 150 Carlos Chardón Street,
Federal Building, San Juan, Puerto Rico 00918-1767. Si radica una réplica a la Objeción Global,
deberá planear comparecer en la vista sobre la Objeción Global. Sin embargo, el ELA se reserva
el derecho, previa notificación con tres (3) días hábiles de antelación, a paralizar la vista en relación
con la Objeción Global y la réplica.

        Los Deudores podrán radicar una contestación a su réplica o contestación en un alegato
oral durante la vista. Los Deudores podrán radicar su contestación en un plazo máximo de siete
(7) días naturales antes de la celebración de la vista sobre la Objeción Global y la réplica.

EL TRIBUNAL SOLO TENDRÁ EN CONSIDERACIÓN SU RÉPLICA SI ESTA SE
RADICA Y NOTIFICA ANTES DE LA FECHA LÍMITE PARA RESPONDER DE
CONFORMIDAD CON LAS INSTRUCCIONES ESTABLECIDAS EN LA PRESENTE
NOTIFICACIÓN.

        Lo que hay que radicar con la réplica. Su réplica a la Objeción Global deberá contener
la siguiente información:

        (i)     Datos de contacto. La réplica deberá contener el nombre, la dirección, el número
                de teléfono y la dirección de correo electrónico 1) del reclamante que responda;
                2) del abogado o representante designado del reclamante al que los abogados del
                ELA deban notificar una respuesta a la réplica, en su caso; o 3) de la parte con



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                 potestad para reconciliar, llegar a un acuerdo o de otro modo resolver la Objeción
                 Global en nombre del reclamante.

      (ii)       Epígrafe. La réplica deberá contener un epígrafe que refleje el nombre del
                 Tribunal, los nombres de los Deudores, el número de procedimiento, el Título de la
                 Objeción Global con la que guarde relación la réplica, y el/los número(s) de las
                 evidencias de reclamaciones relacionados de Prime Clerk (que se mencionan en el
                 Anexo A de la Objeción Global y están disponibles en línea, de manera gratuita, en
                 https://cases.primeclerk.com/puertorico).

      (iii)      Motivo(s) para oponerse a la Objeción Global. La réplica deberá contener una
                 declaración concisa que establezca los motivos por los que el Tribunal no deba
                 conceder la Objeción Global en relación con su reclamación, incluidas las bases de
                 hecho y de derecho que el reclamante vaya a invocar al oponerse a la Objeción
                 Global.

      (iv)       Documentación justificativa. En la medida en que ya no esté incluida en la
                 evidencia de reclamación, la réplica deberá contener una copia de cualquier otra
                 documentación u otras evidencias relativas a la reclamación que el reclamante vaya
                 a invocar al oponerse a la Objeción Global; con la salvedad de que el reclamante
                 no tendrá que revelar en la réplica información confidencial, reservada o protegida
                 de cualquier otra forma; y también con la salvedad de que el reclamante revelará al
                 ELA toda la información y proporcionará copias de la totalidad de los documentos
                 que considere que son confidenciales, reservados o protegidos de cualquier otra
                 forma y que tenga la intención de invocar en apoyo de su reclamación, con sujeción
                 a las restricciones de confidencialidad pertinentes.

      (v)        Firma. Usted deberá firmar su réplica. Si no lo hace, el secretario no aceptará la
                 réplica a efectos de su radicación.

NOTIFICACIÓN IMPORTANTE SOBRE INFORMACIÓN SENSIBLE CONTENIDA
EN LAS RÉPLICAS.

      Todos los materiales sometidos al Tribunal en respuesta a la Objeción Global podrán
      radicarse públicamente y quedar accesibles para la población en general. En consecuencia,
      la réplica no debe incluir documentos ni información sensibles; por ejemplo, copias de
      licencias de conducir, pasaportes, partidas de nacimiento, tarjetas del Seguro Social,
      información médica sensible o información comercial confidencial. La información
      sensible sometida al Tribunal en respuesta a la Objeción Global debe cumplir con las
      siguientes directrices:

                Los números del Seguro Social y los números de identificación contributiva deben
                 ocultarse (esto es, tacharse), salvo los últimos cuatro dígitos.

                Las fechas de nacimiento deben ocultarse, salvo el año de nacimiento de la persona.




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             El nombre de cualquier persona que se sepa que es menor de edad debe ocultarse,
              salvo las letras iniciales de la persona.

             Los números de cuentas financieras deben ocultarse, salvo los últimos cuatro
              dígitos.

       Dicha información sensible o confidencial que los reclamantes invoquen en apoyo de su
       reclamación debe proporcionarse directamente al abogado del ELA, y se mantendrá en
       confidencialidad. Usted podrá proporcionar esta información enviándola por correo a la
       siguiente dirección:

                     Abogados de la Junta de Supervisión (Counsel for the Oversight Board)
                     Proskauer Rose LLP
                     Eleven Times Square
                     New York, New York 10036-8299
                     Attn: Martin J. Bienenstock
                     Brian S. Rosen


Dónde y cómo radicar y notificar una réplica. Todas las réplicas deberán radicarse de forma
electrónica ante el Tribunal con el nombre de expediente In re: Estado Libre Asociado de Puerto
Rico, Caso núm. 17 BK 3283-LTS. Hay dos métodos que puede utilizar para radicar su réplica:

   1. En línea. Los usuarios inscritos en el sistema de radicación de casos del Tribunal deberán
      radicar su réplica de forma electrónica en un formato pdf susceptible de búsqueda.

   2. Por correo postal. Si usted no es un abogado que sea usuario inscrito en el sistema de
      radicación de casos del Tribunal, podrá radicar y notificar una réplica por correo postal
      dirigida a la Secretaría del Tribunal, a la Junta de Supervisión y al Comité de Acreedores
      a las siguientes direcciones:

                     Secretaría (Clerk’s Office)
                     Tribunal de Distrito de los Estados Unidos (United States District Court)
                     Sala 150 Edificio Federal (Federal Building)
                     San Juan (Puerto Rico) 00918-1767

                     Abogados de la Junta de Supervisión (Counsel for the Oversight Board)
                     Proskauer Rose LLP
                     Eleven Times Square
                     New York, New York 10036-8299
                     Attn: Martin J. Bienenstock
                     Brian S. Rosen

                     Abogados del Comité de Acreedores (Counsel for the Creditors’
                     Committee)
                     Paul Hastings LLP
                     200 Park Avenue
                     New York, New York 10166


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                      Attn: Luc A. Despins
                      James Bliss
                      James Worthington
                      G. Alexander Bongartz

SU RÉPLICA deberá enviarse por correo para ser recibida por la Secretaría, la Junta de
Supervisión y el Comité de Acreedores a más tardar a las 04:00 p.m. (AST) del 19 de julio de
2021, salvo extensión por escrito por parte del ELA o previa solicitud por escrito dirigida al
Tribunal y una orden del Tribunal que extienda la fecha límite. Su réplica debe estar firmada. Si
no la firma, el secretario no aceptará la réplica a efectos de su radicación.

Si no puede radicar y notificar una réplica en línea o por correo postal, según se especificó
anteriormente, podrá radicar una réplica en persona en la siguiente dirección a más tardar a las
04:00 p.m. (AST) del 19 de julio de 2021, salvo extensión por escrito por parte del ELA o previa
solicitud por escrito dirigida al Tribunal y una orden del Tribunal que extienda la fecha límite:

              Secretaría (Clerk’s Office)
              Tribunal de Distrito de los Estados Unidos (United States District Court)
              #150 Avenida Chardón
              Edificio Federal (Federal Building)
              San Juan (Puerto Rico) 00918

Su réplica deberá incluir un certificado de notificación que indique la forma en la que se ha
efectuado la notificación.

Si tiene alguna pregunta sobre cómo radicar y notificar una réplica, incluidas preguntas sobre el
sistema de radicación de casos del Tribunal, comuníquese con Prime Clerk llamando al número
directo (844) 822-9231.

Reserva de derechos. NINGUNA DISPOSICIÓN CONTENIDA EN LA OBJECIÓN GLOBAL
O EN LA PRESENTE NOTIFICACIÓN CONSTITUYE NI SE CONSIDERARÁ QUE
CONSTITUYA UNA RENUNCIA A CUALESQUIERA DERECHOS DEL ELA, COFINA, LA
ACT, EL SRE, LA AEP, LA AEE O DE CUALQUIER OTRA PARTE INTERESADA EN
RELACIÓN CON LOS CASOS DE TÍTULO III, A IMPUGNAR CUALESQUIERA
RECLAMACIONES; A HACER VALER CONTRARRECLAMACIONES, DERECHOS A
COMPENSACIÓN O RECUPERACIÓN, O CONTESTACIONES; A OBJETAR A LAS
RECLAMACIONES (O A OTRAS RECLAMACIONES O CAUSAS RADICADAS DE UN
RECLAMANTE) O A CUALQUIER OTRO MOTIVO QUE NO SE HAYA ALEGADO
PREVIAMENTE EN UNA OBJECIÓN, SALVO QUE EL TRIBUNAL HAYA CONCEDIDO
UNA RECLAMACIÓN O HAYA ORDENADO OTRA COSA; O A SOLICITAR QUE SE
ESTIME CUALQUIER RECLAMACIÓN EN EL FUTURO. A SU DEBIDO TIEMPO, LAS
PARTES AFECTADAS RECIBIRÁN LA NOTIFICACIÓN PERTINENTE DE TODO ELLO.



    Recursos adicionales y con quién comunicarse en el caso de que tenga que formular
                                        preguntas



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Todos los documentos radicados en el marco de los Casos de Título III, incluidas copias de las
reclamaciones radicadas utilizando CM/ECF, se encuentran disponibles en línea, de manera
gratuita, en https://cases.primeclerk.com/puertorico. El mantenimiento de dicho sitio web lo
realiza Prime Clerk; el sitio web incluye una base de datos que permite efectuar búsquedas y que
ayuda a localizar documentos.

Para obtener información adicional sobre la Objeción Global, el estado de su réplica, su
reclamación o la presente notificación, comuníquese con Prime Clerk llamando a su número
directo (844) 822-9231 (número gratuito para Estados Unidos y Puerto Rico) o al (646) 486-7944
(para llamadas desde el extranjero), disponibles entre las 10:00 a. m. y las 07:00 p.m. (AST)
(hablamos español). También podrá enviar consultas a la siguiente dirección de correo electrónico:
puertoricoinfo@primeclerk.com.




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